       Case 2:15-cr-00116-KJM Document 94 Filed 03/02/16 Page 1 of 3


     HEATHER E. WILLIAMS, #122664
1    Federal Defender
     NOA E. OREN, #297100
2    Assistant Federal Defender
     801 I Street, 3rd Floor
3    Sacramento, CA 95814
     Telephone: (916) 498-5700
4
     Attorneys for Defendant
5    JOSEPH RYAN
6
7                                   UNITED STATES DISTRICT COURT
8                                  EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                      )   No. 2:15-cr-116 GEB
10                                                  )
                      Plaintiff,                    )   STIPULATION AND ORDER
11                                                  )   TO VACATE TRIAL CONFIRMATION AND
           v.                                       )   TRIAL DATE AND SET FOR CHANGE OF
12                                                  )   PLEA
     JOSEPH RYAN,                                   )
13                                                  )   Date: March 4, 2016
                     Defendants.                    )   Time: 9:00 a.m.
14                                                  )   Judge: Hon. Garland E. Burrell, Jr.
                                                    )
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16
             The United States of America, through its counsel, Assistant U. S. Attorney Michelle
17
     Rodriguez, and defendant, Joseph Ryan, through Assistant Federal Defender, Noa E. Oren,
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     stipulate that the Trial Confirmation Hearing and Trial Date, currently scheduled for March 4,
19
     2016 and April 5, 2016, be vacated and that Mr. Ryan’s matter be calendared for a change of
20
     plea on March 11, 2016 at 9:00 a.m.
21
                The continuance is requested for defense preparation and for the court to review the plea
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     agreement. The signed plea agreement has already been provided to the court.
23
             The parties agree that the above reasons constitute good cause for a continuance. The
24
     parties stipulate that the ends of justice served by granting the defendants’ request for a
25
     continuance outweigh the best interest of the public and the defendants in a speedy trial, and that
26
     this is an appropriate exclusion of time for defense preparation within the meaning of 18 U.S.C.
27
     § 3161(h)(7) (Local Code T4).
28
      Stipulation to Continue                           -1-                      U.S. v. Ryan, 15-cr-116 GEB
       Case 2:15-cr-00116-KJM Document 94 Filed 03/02/16 Page 2 of 3



1    DATED: March 1, 2016               HEATHER E. WILLIAMS
                                        Federal Defender
2
3                                       /s/ Noa E. Oren
                                        NOA E. OREN
4                                       Assistant Federal Defender
                                        Attorney for JOSEPH RYAN
5
6    DATED: March 1, 2016               BENJAMIN B. WAGNER
                                        United States Attorney
7
                                        /s/ Michelle Rodriguez
8                                       MICHELLE RODRIGUEZ
                                        Assistant U.S. Attorney
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      Stipulation to Continue             -2-                     U.S. v. Ryan, 15-cr-116 GEB
       Case 2:15-cr-00116-KJM Document 94 Filed 03/02/16 Page 3 of 3



1                                                ORDER
2            Finding good cause, the Court orders the matter continued to March 11, 2016 at 9:00
3    a.m., before the Hon. Garland E. Burrell, Jr.; and, time excluded for the reasons set forth above.
4    The Court finds that the ends of justice served by granting the defendants’ request for a
5    continuance outweigh the best interest of the public and the defendants in a speedy trial.
6    Dated: March 2, 2016
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      Stipulation to Continue                        -3-                       U.S. v. Ryan, 15-cr-116 GEB
